       Case 1:18-cv-03501-JGK Document 265-1 Filed 07/24/19 Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK



DEMOCRATIC NATIONAL
COMMITTEE,

                              Plaintiff,                Case No. 1: 18-cv-3501-JGK-SDA

                      v.

THE RUSSIAN FEDERATION, et al.,

                              Defendants.




             DEFENDANT DONALD J. TRUMP, JR.'S
NOTICE OF MOTION TO DISMISS THE SECOND AMENDED COMPLAINT



       PLEASE TAKE NOTICE that Defendant Donald J. Trump, Jr., hereby moves this Court

for an Order dismissing all claims asserted against him in the Second Amended Complaint, in

accordance with Federal Rule of Ci vii Procedure 12(b)( 6).

       PLEASE TAKE FURTHER NOTICE that Mr. Trump, Jr., joins in, relies upon, and

incorporates herein by references, each and every argument, insofar as it applies to him, made by

Defendant Donald J. Trump for President, Inc. ("the Campaign") in the Campaign's briefing on

its motion to dismiss the Second Amended Complaint.
         Case 1:18-cv-03501-JGK Document 265-1 Filed 07/24/19 Page 2 of 2




Dated:     July 24, 2019                     Respectfully submitted,




                                             Alan S. Futerfas

                                           Counsel for Donald J Trump, Jr.
